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10
11                        UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13                      WESTERN DIVISION—LOS ANGELES
14   DENIECE WAIDHOFER, an                Case No. 2:20-cv-06979-FMO-AS
     individual; MARGARET
15   MCGEHEE, an individual; and          STIPULATED PROTOCOL FOR
     RYUU LAVITZ, LLC, a                  PRODUCING DOCUMENTS AND ESI
16   Massachusetts limited liability
     company,
17
                 Plaintiffs,
18
           vs.
19
     CLOUDFLARE, INC., a Delaware
20   corporation; BANGBROS.COM,
     INC., a Florida corporation;
21   SONESTA TECHNOLOGIES,
     INC., a Florida corporation; MULTI   Judge: Hon. Fernando M. Olguin
22   MEDIA LLC, a California limited
     liability company; CRAKMEDIA
23   INC., a Canadian corporation; and
     JOHN DOES 1-21,
24
                 Defendants.
25
26
27
28

                    STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
                                 CASE NO. 2:19-CV-01367-PSG-AGR
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 1        STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
 2          Pursuant to Rules 16 and 26(f) of the Federal Rules of Civil Procedure (“Federal
 3   Rules”),    Plaintiffs,   Deniece    Waidhofer    (“Waidhofer”),    Margaret   McGehee
 4   (“McGehee”), and Ryuu Lavitz, LLC (“Lavitz”) (collectively, “Plaintiffs”); Defendant
 5   Cloudflare, Inc. (“Cloudflare”) and Defendants Multi Media, LLC (“Multi Media”) and
 6   Sonesta Technologies, Inc. (f/k/a BangBros.com Inc.) (“Sonesta”) (collectively,
 7   “Defendants”), by and through their respective counsel, have jointly stipulated to the
 8   terms of this Stipulated Protocol for Producing Documents and ESI (the “ESI
 9   Protocol”).
10   I.     Production Format
11          A.     Purpose
12          The ESI Protocol shall govern the production of documents and electronically
13   stored information (“ESI”) by the parties in the above captioned litigation. Nothing
14   herein shall enlarge or affect the proper scope of discovery, nor shall anything herein
15   imply that any documents or ESI collected or produced under the terms of this protocol
16   are properly discoverable, relevant, or admissible in the litigation.
17          The ESI Protocol shall also govern productions made by any third party who is
18   subpoenaed in this action unless otherwise agreed to by the party issuing the subpoena
19   and the third party. Accordingly, the ESI Protocol shall be attached to any subpoena
20   issued in this action after approval of the ESI Protocol.
21          B.     Definitions
22          As used herein, the following terms shall have the following meanings:
23                 (1)     The terms “Electronically Stored Information” and “ESI” as used
24                         herein have the same meaning as contemplated by the Federal Rules;
25                 (2)     “Native file format” means and refers to the format of ESI in which
26                         it was originally generated and/or normally kept by the producing
27                         party in the usual course of its business and in its regularly
28                         conducted activities;
                                                   1
                         STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
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 1               (3)     “Metadata” means and refers to information about information or
 2                       data about data, and includes without limitation (i) information
 3                       embedded in or associated with a native file that is not ordinarily
 4                       viewable or printable from the application that generated, edited, or
 5                       modified such native file which describes the characteristics,
 6                       origins, usage and/or validity of the electronic file and/or
 7                       (ii) information generated automatically by the operation of a
 8                       computer or other information technology system when a native file
 9                       is created, modified, transmitted, deleted or otherwise manipulated
10                       by a user of such system;
11               (4)     “Document” or “Documents” are used in their broadest sense, to the
12                       full extent permitted by Rules 26 and 34 of the Federal Rules.
13         C.    Paper Records
14         Paper records will be scanned or otherwise converted into electronic form from
15   paper documents in the following format:
16               (1)     TIFFs. All documents shall be scanned to single page Group 4, TIFF
17                       format, at least 300 dpi and 8.5 x 11 inch page size, except for
18                       documents requiring higher resolution or different page size. Each
19                       image file should have a unique file name which shall be the Bates
20                       number of the page.
21               (2)     In scanning paper documents, distinct documents should not be
22                       merged into a single record, and single documents should not be
23                       split into multiple records (i.e., paper documents should be logically
24                       unitized). The parties will make their best efforts to have their
25                       vendors unitize documents correctly and will commit to address
26                       situations where there are improperly unitized documents.
27               (3)     Objective Coding Fields. The following objective coding fields
28                       should be provided, if applicable and/or available: (1) beginning
                                                 2
                       STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
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 1                        Bates number; (2) ending Bates number; (3) beginning attachment
 2                        Bates number; (4) ending attachment Bates number; and (5) source
 3                        location/custodian.
 4         D.     Electronically Stored Information
 5         The parties will produce ESI in TIFF format according to the following
 6   specifications:
 7                (1)     All TIFF formatted documents will be single page, Group 4 TIFF at
 8                        300 X 300 dpi resolution and 8.5 X 11 inch page size, except for
 9                        documents requiring different resolution or page size.
10                (2)     An image load file, in standard Opticon format, showing the Bates
11                        number of each page and the appropriate unitization of the
12                        documents, will accompany all document images.
13                (3)     Each imaged version of an electronic document will be created
14                        directly from the original electronic document.
15                (4)     Color     documents    (e.g.,   color    photographs     or   graphical
16                        representations in color) may be produced as black & white, single-
17                        page TIFF images in accordance with the technical specifications
18                        set forth herein. Upon a reasonable request by the receiving Party,
19                        the producing Party shall produce specifically identified documents
20                        in color. If color images are required to render the document legible
21                        and usable, the files shall be delivered in single page, JPEG format,
22                        accompanied by the requisite document level text file as specified
23                        herein.
24                (5)     Full extracted text will be provided in the format of a single *.txt file
25                        for each file (i.e. not one *.txt per *.tif image). Where ESI contains
26                        text that has been redacted under assertion of privilege or other
27                        protection from disclosure, the redacted *.tif image will be OCR’d
28                        and file-level OCR text will be produced in lieu of extracted text.
                                                   3
                        STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
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 1                         Searchable text will be produced as file-level multi-page UTF-8 text
 2                         files with the text file named to match the beginning production
 3                         number of the file. The full path of the text file must be provided in
 4                         the *.dat data load file.
 5                (6)      There will be two Load/Unitization files accompanying all
 6                         productions. One will be the Image load file and the other will be
 7                         the Metadata load file.
 8                (i)      Image Load File.
 9                         •      The name of the image load file shall mirror the name of the
10                                delivery volume, and should have a .lfp, .opt or .dii*
11                                extension (e.g., ABCOOl.lfp). The volume names shall be
12                                consecutive (i.e., ABC001, ABC002, et. seq.) *If .dii file is
13                                produced, the accompanying metadata load file shall be
14                                separate from the .dii file and not contained within the .dii
15                                file.
16                         •      The image load file shall contain one row per TIFF image.
17                         •      Every image in the delivery volume shall be referenced in the
18                                image load file.
19                         •      The image key shall be named the same as the Bates number
20                                of the page. Load files shall not span across media (e.g., CDs,
21                                DVDs, Hard Drives, etc.). A separate volume shall be created
22                                for each piece of media delivered.
23                         •      Emails will be produced with the CC and BCC line displayed
24                                in the image.
25                (ii)     Metadata Load File.
26         The following metadata fields associated with each electronic document will be
27   produced, to the extent they are available.
28
                                                       4
                         STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
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 1                                                            Required     Required for
         Field Name         Field Description
 2                                                            for Email   Non-E-mail ESI
         Custodian          Name of custodian(s) of
 3                          email(s) or file(s) produced
                            (Last Name, First Name               X              X
 4
                            format) as available
 5
         AllCustodians1     Name of all custodians who
 6                          had a copy of a document.            X              X
 7       BegBates           Beginning Bates# (including
                            Prefix)                              X              X
 8
         EndBates           Ending Bates# (including
 9                                                               X              X
                            Prefix)
10
         BegAttach          Beginning Bates number of
11                          the first document in an
                            attachment range (only in            X
12
                            emails with attachments)
13       EndAttach          Ending Bates number of the
14                          last document in attachment
                            range (only in emails with           X
15                          attachments)
16       AttachCount        Number of attachments to an
                            email                                X
17
18       AttachName         Name of each individual
                            attachment                           X
19
         From               From field extracted from an
20                          email message                        X
21       Author             Author field extracted from
22                          the metadata of a non-email                         X
                            document
23
         To                 To or Recipient field extracted
24                          from an email message                X

25       Cc                 Carbon Copy (“Cc”) field             X
26
     1
        Parties will provide AllCustodians field based on documents received at the time of
27   the production. When the parties’ productions are completed, the producing party will
     provide an overlay for previously produced documents containing all additional
28   custodians whose documents have been added after the time of the initial production.
                                                   5
                          STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
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 1                                                       Required     Required for
     Field Name        Field Description
 2                                                       for Email   Non-E-mail ESI
                       extracted from an email
 3                     message
 4   Bcc               Blind Carbon Copy (“Bcc”)
 5                     field extracted from an email        X
                       message
 6
     Email Subject     Subject line extracted from an
 7                     email message                        X
 8   Filename          File name — Original name of
                       file as appeared in original                        X
 9
                       location
10
     Title             Title field extracted from the
11                     metadata of a non-email                             X
                       document
12
     DateSent          Sent date of an email message
13                     (mm/dd/yyyy format) (a given
14                     email will have either a             X
                       DateSent or Date Recvd, but
15                     not both)
16   DateRcvd          Received date of an email
17                     message (mm/dd/yyyy format)
                       (a given email will have either      X
18                     a DateSent or Date Recvd, but
19                     not both)
20   DateCreated       Date that a non-email file was
                       created (mm/dd/yyyy format)                         X
21
     DateMod           The application recorded time
22                     on which the document was                           X
23                     last modified

24   TimeSent          Time e-mail was sent
                       (hh:mm:ss format) (a given
25                     email will have either a             X
26                     TimeSent or Time Recvd, but
                       not both)
27
     TimeRcvd          Time e-mail was received
                                                            X
28                     (hh:mm:ss format) (a given
                                               6
                     STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
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 1                                                          Required        Required for
     Field Name          Field Description
 2                                                          for Email      Non-E-mail ESI
                         email will have either a
 3                       TimeSent or Time Recvd, but
 4                       not both)
 5   NativeLink (if      Relative path to any files
     natives are         produced in native format               X                 X
 6   exchanged)
 7   TextLink (if        Relative path to any
     text is             OCR/extracted text files in the         X                 X
 8   exchanged)          production set
 9   Confidential        Confidentiality Designation             x                 x
10
     Redacted            Descriptor for documents that           x                 x
11                       have been redacted. “Yes” for
12                       redacted documents; “No” for
                         unredacted documents.
13
     HashValue           MD5 or SHA-1 hash value
14                       used to deduplicate the data            X                 X
15   FileExtension       File extension of native file           X                 X
16
17
                 (7)     The parties will produce the following ESI types in native file
18
                         format:
19
                         •     Excel spreadsheets
20
                         •     Audio/video files
21
                         The Parties will meet and confer regarding any good faith request
22
                 for the production of PowerPoint files in native file format.
23
                 (8)     Any document produced in native format will be produced
24
                         according to the following specifications, to the extent practical and
25
                         available:
26
                         (a)   A unique document number shall be used as the file name.
27
                               The original file name and extension shall be preserved in the
28
                                                 7
                       STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
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 1                             corresponding load file. An example of this convention would
 2                             be: “CHOOOOOOO1.xlsx” with metadata in the load file
 3                             listing the original filename and extension as “Copyright
 4                             data.xlsx.”
 5                       (b)   Any file produced in native format need not be imaged.
 6                             Instead, a single page placeholder image shall be provided
 7                             that indicates the file was produced in native format and
 8                             contains the Bates number of the corresponding file and,
 9                             where pertinent, the confidentiality designation.
10         E.     Resolution of Technical/Logistical Issues
11         Documents that present imaging or format production problems shall be
12   promptly identified and disclosed to the requesting party; the parties shall then meet and
13   confer to attempt to resolve the problems.
14         If a producing party asserts that certain ESI is inaccessible or cannot be produced
15   in an appropriate format, or if the requesting party asserts that, following production,
16   certain ESI is not reasonably usable, the parties shall meet and confer with their
17   respective technology experts to discuss resolving such assertions. If the parties cannot
18   resolve any such disputes after such a meet and confer has taken place, the issue shall
19   be presented to the Court for resolution.
20         F.     Redacted Files
21         The producing Party may redact from any TIFF image, metadata field, or native
22   file material that is protected from disclosure by applicable privilege or immunity, or
23   that is governed by other applicable privacy law or regulation. Original extracted text
24   will not be provided for electronic documents that have been redacted. Instead, for
25   documents with redacted images, a separate OCR text file should be created for each
26   redacted document that displays only the unredacted text. Any such redactions shall be
27   clearly marked on the document (e.g., with a solid, black box). For documents redacted
28   natively the producing party will provide OCR or extracted text after the redactions
                                                  8
                      STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
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 1   have been applied. The foregoing does not affect the Parties’ obligations under FRCP
 2   Rule 26(b)(5).
 3         G.     Data Load Files/Cross-Reference Files
 4         Fielded data should be exchanged via a document-level-database load file in
 5   standard Concordance (DAT) format . All image data should be delivered with a
 6   corresponding image load file in one of three formats: standard IPro (LFP), Opticon
 7   (OPT) or Summation (DII).
 8         H.     Deduping Documents
 9         The parties shall dedupe globally (i.e., across all custodians). This will result in
10   the Producing Party needing to produce only a single copy of responsive Duplicate ESI.
11   The parties shall de-duplicate stand-alone documents against stand-alone documents
12   and shall de-duplicate top-level email documents against top-level email documents.
13   De-duplication shall not break apart families. Where a stand-alone document or top-
14   level email is found in more than one custodian’s files, the metadata load file shall list
15   all such custodians, even though the document or email is being produced only once.
16   II.   Scope of Discovery
17         The parties agree to meet and confer in an attempt to reach an agreement on the
18   scope of relevant and proportional discovery within the meaning of Rule 26(b)(1),
19   including:
20         •      Data sources;
21         •      Date ranges;
22         •      File types;
23         •      Custodians;
24         •      Search terms;
25         •      Non-custodial sources of ESI; and/or
26         •      Information located in applications or databases.
27         Any remaining disputes on the scope of discovery shall promptly be presented to
28   the Court for resolution.
                                                 9
                      STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
                                   CASE NO. 2:19-CV-01367-PSG-AGR
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 1                              SIGNATURE ATTESTATION
 2         The CM/ECF user filing this paper attests that concurrence in its filing has
 3   been obtained from its other signatories.
 4         Respectfully submitted on December 11, 2020.
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                                  CASE NO. 2:19-CV-01367-PSG-AGR
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                    STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND ESI
                                 CASE NO. 2:19-CV-01367-PSG-AGR
